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                          UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION
 In re

 BARRY WISNER CHAPIN,                               Chapter 7
                                                    Case No. 20-10324-JEB
                         Debtor.


 HAROLD B. MURPHY AS HE IS THE
 CHAPTER 7 TRUSTEE OF BARRY
 WISNER CHAPIN,

                         Plaintiff,                 Adversary Proceeding
                                                    No. 20-01050
V.

UNITED STATES OF AMERICA,
DEPARTMENT OF THE TREASURY,
INTERNAL REVENUE SERVICE,
MASSACHUSETTS DEPARTMENT OF
REVENUE, BARRY WISNER CHAPIN,
FERRIS DEVELOPMENT GROUP, LLC
and
CITY OF BOSTON,

                         Defendants.


                           JOINT MOTION TO EXTEND
              DEADLINE FOR FILING RESPONSIVE PLEADING OR MOTION

         NOW COME the Defendant, Ferris Development Group, LLC (hereinafter “Defendant”

or “FDG”) and the Plaintiff, Harold B. Murphy, Chapter 7 Trustee, by and through their

respective counsel, who jointly move pursuant to Fed. Bankr. R. Pro. 7012(a) for entry of an

order extending the deadline for filing FDG’s responsive pleading or motion to the Complaint in

this matter, from May 11, 2020, to May 22, 2020. In support, the Movants state:

         1.     FDG is a Defendant in this case, has been served validly and timely with the

Complaint, and has engaged is General Counsel, Brian R. Charville, to represent its interests.


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       2.      Attorney Charville is a member in good standing of the Bar of the State of

Massachusetts and the Bar of the United States District Court for the District of Massachusetts,

and he lives and works in Massachusetts.

       3.      Attorney Charville is in the process of gaining access to the Court’s ECF system

and the purpose of this Joint Motion is simply to allow that access so that Attorney Charville

may note his Appearance and file FDG’s Answer, and otherwise represent FDG’s interests here.



       WHEREFORE, the Movants respectfully request entry of an Order extending the

deadline for Ferris Development Group, LLC, to file its responsive pleading, from May 11,

2020, to May 22, 2020.

                                     Respectfully submitted,

FERRIS DEVELOPMENT GROUP, LLC,                                 HAROLD B. MURPHY, TRUSTEE

By Its Attorney                                                By His Attorney

/s Brian R. Charville                                          /s Kathleen R. Cruickshank
Brian R. Charville, Esq. (BBO # 625051)                        Kathleen R. Cruickshank, Esq.
Ferris Development Group, LLC                                                 (BBO # 550675)
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bcharville@ferrisdevelopment.com                               kcruickshank@murphyking.com

Dated: May 11, 2020
                                      Certificate of Service

       The undersigned states upon information and belief that the foregoing Joint Motion will
be served upon the parties to the case by the Court’s CM/ECF system.

                                                               /s Kathleen R. Cruickshank
                                                               Kathleen R. Cruickshank, Esq.




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